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   Analysis of the Transit of the Barge ING 4727
   During Hurricane Katrina and Reasons Why It
   Did Not Cause the Failure of the Inner Harbor
              Navigation Canal Floodwall




                       Project No. 2581
                         July 29, 2009

                   C. R. Cushing & Co., Inc.
                        30 Vesey Street
                     New York, NY 10007




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INTRODUCTION

On the morning of 29 August 2005, at the height of Hurricane Katrina’s assault on the
City of New Orleans, the east floodwall of the Inner Harbor Navigation Canal (IHNC)
failed in two locations bordering the Lower Ninth Ward. The Lower Ninth Ward was
flooded and an empty barge was drawn through the southernmost of the two breaches.
The barge grounded among the houses in the neighborhood immediately inside the
floodwall. This report examines the facts and events leading up to the IHNC floodwall
failures, the causes of those failures and how the barge came to its final resting spot.
The report concludes that the barge did not cause or contribute to the IHNC floodwall
failures.

This report relies on a multitude of reports, data, photographs and personal
observations made on site. These references are listed in the attached appendices.
Each conclusion provided in this report is corroborated by multiple facts and the
evidence presented in this report.

On 27 September 2005 and on numerous subsequent dates, Dr. Charles R. Cushing,
his colleagues and other experts in civil engineering, hydrology, levee construction and
hydrodynamics visited the site of the floodwall breaches and the barge. These experts
began collecting evidence and started to analyze the causes of the failure of the eastern
levee/floodwall on the southern portion of the Inner Harbor Navigation Canal. This work
was performed at the request of counsel for Lafarge North America Inc.

At the same time, the U.S. Army Corps of Engineers (USACE) began an investigation to
determine, among other things, why the levees failed. They formed the USACE
Interagency Performance Evaluation Task Force (IPET). IPET requested that the
American Society of Civil Engineers (ASCE) convene an external panel of experts to
review and comment on IPET’s work. This review is published under the title:
Preliminary Report on the Performance of the New Orleans Levee Systems in Hurricane
Katrina on August 29, 2005.1

The National Research Council (NRC) of the National Academy of Science (NAS) and
the National Academy of Engineering (NAE) performed a review of IPET and USACE’s
work in a report: New Orleans Regional Hurricane Protection Projects.2

An independent investigation was carried out by a group of experts from the University
of California, Berkeley, and funded by the National Science Foundation. This group, the
Independent Levee Investigation Team (ILIT), released their findings in May 2006.
These and other governmental and scientific reports have also been reviewed and
considered in forming the opinions contained in this report.


1
    ASCE Report No. UCB/CITRIS-05/01.
2
    NRC/NAE Project DEPS-L-05-A.




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An investigation into the failure of the New Orleans hurricane protection system was
undertaken by a group from Louisiana State University (“Team Louisiana”). This report,
titled The Failure of the New Orleans Levee System during Hurricane Katrina3 was
released in December 2006 and included, among other things, useful modeling of
Katrina’s storm surge.

The findings of these independent groups are consistent with our own findings and
conclusions as detailed below.




3
    Louisiana State Project No. XXX-XX-XXXX, 20 dated 18 December 2006.




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THE LOWER NINTH WARD

The Lower Ninth Ward is part of the City of New Orleans and Orleans Parish, lying
immediately to the east and separated from the city by the IHNC. It is also immediately
to the south of New Orleans East, separated by the Gulf Intracoastal Waterway (GIWW)
and the Mississippi River - Gulf Outlet (MRGO).




Figure 1: The City of New Orleans after flooding from Hurricane Katrina. The Lower
Ninth Ward is in the foreground and the Central Business District (downtown) is in the
background.

Built on an old cypress swamp, the Lower Ninth Ward was subject to constant flooding
during the early 1800s.

The three main accesses to the Lower Ninth Ward from the city are the Florida Ave.
Bridge to the north, the N. Claiborne Ave. (State Highway 39) Bridge to the south and
the St. Claude Ave. Bridge closest to the river, all spanning the IHNC.




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Figure 2: The N. Claiborne Ave. Bridge.




Figure 3: The Florida Ave. Bridge.

The southern edge of the Lower Ninth Ward along the Mississippi River is on higher
ground, formed by both the man-made and the natural Mississippi River Levee.
Topographically, the center of the city in Orleans Parish is a polder (i.e., tract of low
land) called the Inter-Levee Basin. This depression extends eastward into the center of
the Lower Ninth Ward, one of the lowest parts of New Orleans. Also, as one proceeds



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away from the natural Mississippi River levee and toward the Florida Ave. Bridge within
the Lower Ninth Ward, the ground gets progressively lower. The area nearest the
Florida Ave. Bridge is one of the lowest points in the Lower Ninth Ward.




Figure 4: Street map of the Lower Ninth Ward.




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The Lower Ninth Ward is bounded on the west by the IHNC and its levee, on the south
by the river, on the east by St. Bernard Parish and the north by MRGO. Figure 4 is a
map that represents the 100-square-block area nearest the IHNC between N. Claiborne
Ave. and Florida Ave..

Historic Jackson Barracks lies in the southeast corner of the Lower Ninth Ward at 6400
St. Claude Ave., about 16 blocks east of the IHNC.




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ST. BERNARD PARISH

St. Bernard Parish lies southeast, adjacent and contiguous to the Lower Ninth Ward.
The important communities moving southeast along the Mississippi River from the
Lower Ninth Ward include Arabi, Chalmette, Meraux, Violet and River Bend, about 8
miles southeast of the Lower Ninth Ward. Further south lies Plaquemines Parish. The
Mississippi River – Gulf Outlet (MRGO) forms the northern and northeastern border of
St. Bernard Parish.




Figure 5: The Lower Ninth Ward and portions of St. Bernard Parish.       Black lines
represent levees.

The inhabited portions of St. Bernard Parish and the Lower Ninth Ward are part of the
same polder. In addition to the levees along the Inner Harbor Navigation Canal, they
depended on levees along the MRGO to the north and northeast for flooding protection
from Lake Borgne and the Gulf of Mexico. However, during Hurricane Katrina
considerable overtopping and levee failures occurred along the entire length of MRGO
causing considerable early flooding in St. Bernard Parish.




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Bisecting St. Bernard Parish is a secondary or smaller levee varying in height between
7.5 to 10.0 feet above mean sea level (MSL).4 This is the Forty Arpent Levee, which
runs alongside the Florida Walk Canal. This secondary levee separates the more
populated areas of St. Bernard parish and the Lower Ninth Ward to the southwest from
the more marsh like areas to the northeast. These environmentally important wetlands
include Bayou Bienvenue (closer to the Lower Ninth Ward) and Bayous Villere, Dupre,
Busman and others further east. This levee did little to protect the Lower Ninth Ward or
St. Bernard Parish from Hurricane Katrina.




4
    ILIT Report, Chapter 6 Page 6.




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LAKE BORGNE

As the Mississippi River Delta extends southward into the Gulf of Mexico, it has created
a corner with the Louisiana-Mississippi coastline on the north and the delta (St. Bernard
and Plaquemines Parishes) on the west. Northwest of St. Bernard Parish is a body of
water named Lake Borgne.

Lake Borgne (which is actually a bay) played a key role in the catastrophic flooding of
New Orleans and particularly the Lower Ninth Ward. It is important to understand how
the orientation of this body of water contributed to amplification of the storm surge.

Although Lake Borgne is nearly surrounded by wetlands, any rise in sea level, such as
caused by a hurricane storm surge, causes the protection from the salt water marshes
to disappear. Lake Borgne then becomes a "sound” and is directly connected to
Chandeleur Sound and is open to the Gulf of Mexico.

Any wind-driven and storm-driven seas coming from the east or southeast will be driven
into and concentrated in the funnel-like northwest corner of Lake Borgne, -- that is, into
the MRGO. This is precisely what happened in the early hours of 29 August 2005. As
Katrina approached from the south, the winds north of the hurricane eye were blowing
nearly from due east, with increasing intensity, directly into the MRGO “funnel,” creating
and amplifying the storm surge.




Figure 6: Lake Borgne and the role its “funnel” played in the surge.



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MISSISSIPPI RIVER – GULF OUTLET CANAL

The MRGO is a controversial waterway constructed by the U.S. Army Corps of
Engineers connecting the Gulf of Mexico to the IHNC. It extends 66 miles from the city
southeastward, providing a deep draft (approximately 33 feet fresh water draft) channel
to the Gulf of Mexico. It shortens the inbound distance by ship to New Orleans by some
40 miles. The MRGO was opened in 1963, and forms a part of the Intra-coastal
Waterway System (IWS). The channel is approximately 76 miles long and 36 feet deep.
Since it was completed in 1965, erosion has reportedly increased its control width of
650 feet to more than 1,500 feet.

The hydraulic effects of the canal have been criticized by Assistant Professor of Coastal
Engineering Hassan Mashriqui, Ph.D., P.E. of Louisiana State University'       s (LSU’s)
Hurricane Center, who concludes that MRGO amplified both the water’s velocity and
level during the storm surge caused by Katrina.5 Dr. Mashriqui concludes from
Advanced Circulation (ADCIRC) computer modeling that the in-rushing velocity
increased from 0.9 meters per second to 2.4 meters per second, and increased the
water level height by three feet. This increased the scouring along MRGO and IHNC
levees. (The U.S. Army Corps of Engineers states, by contrast, that Hurricane Katrina
would have overwhelmed the levees with or without MRGO).6

The role that the MRGO played in Hurricane Katrina was to deliver the surge directly to
the IHNC and the center of New Orleans.

The ILIT report extensively discusses the erosion and failures along the 11 mile stretch
of MRGO levees facing Lake Borgne and the Gulf of Mexico.7 As discussed by the
Independent Levee Investigation Team (ILIT) report, levees along the MRGO were little
more than earthwork berms constructed from the dredge spoils from the MRGO, which
consisted of sandy and silty soil poorly suited for use in such a structure. These levees
were quickly washed out by wave action and overtopping flow acting on the loose soil
comprising these berms during the early hours of Hurricane Katrina. IPET concluded
that the gravity-driven downrush velocities of flood water on the back face of the levee
at maximum overtopping were as high as 15 feet per second.8 This was more than
sufficient to wash away the supporting inshore berm.

Early in the arrival of Katrina this northeast frontage of levees was breached in multiple
locations, first flooding northeast St. Bernard Parish, and then over-topping the Forty
Arpent secondary levee. The initial appearance of water in St. Bernard Parish came
from the failures of the levees along MRGO.


5
  Team Louisiana Report Chapter Seven.
6
  Expert Report Prepared for United States Department of Justice by Dr. Reed Mosher, USACE.
7
  ILIT Chapter 6.
8
  IPET page V-3.




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The timing and issues concerning the MRGO, breaches along the MRGO and the
MRGO’s role in the flooding of New Orleans is the subject of inquiry by others. This
section is provided for background and context.




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INNER HARBOR NAVIGATION CANAL (IHNC)

The Inner Harbor Navigation Canal (IHNC), sometimes also referred to as the Industrial
Canal, provides a connection between the Mississippi River at its southern end and
Lake Pontchartrain, 5.8 miles to the north. As its name implies, the IHNC is a
navigation project to facilitate the movement of ship traffic. The southern half of the
IHNC separates the city to the west from the Lower Ninth Ward to the east. The
northern half of the IHNC separates the Gentilly District of the city to the west, from New
Orleans East to the east. The IHNC is bisected by the MRGO, which enters the IHNC
at a point just above the Florida Ave. Bridge.

The southern half of the IHNC varies in depth from 27 to 33 feet mean lower low water
(MLLW).9 Access to the southern most end of the IHNC and the Navigation Locks is
however limited to 30 feet because of a submarine pipeline crossing.

At the southern end of the IHNC, a lock system lifts vessels from the IHNC to the
Mississippi River. The existing lock has a 675 foot long by 75 foot wide chamber with a
floor elevation of minus 36 feet (National Geodetic Vertical Datum). The existing lock
has interior dimensions of 640 feet long by 75 feet wide by 31.5 feet deep over the sills
at low water in the Mississippi River. This lock is the busiest in the Intra-Coastal
Waterway System, with an estimated average wait of ten hours.

The U.S. Army Corp of Engineers is planning to replace the existing lock with a new
1,270 foot long by 110 foot wide by 40 foot deep lock in order to reduce waiting delays.
The new lock has the highest priority of the National Inland Waterway Users Board. The
US Army Corps of Engineers concurs, reporting it is critical to the Nation’s commerce.
The project began in 2001 and is scheduled for completion in 2015. It also involves the
construction of new N. Claiborne Ave. and St. Claude Ave. bridges.10

The IHNC has a 900 foot wide turning basin immediately south of the Florida Ave.
Bridge, and a second turning basin 1,600 feet in diameter north of the Florida Ave.
Bridge, at the IHNC intersection with MRGO.

The Florida Ave. Bridge is a newly built lift bridge with a horizontal clearance of
approximately 300 feet. There is a submerged drainage line on the south side of the
Florida Ave. Bridge which restricts the draft of vessels to 30 feet at mean sea level.

The northern portion of the IHNC extends from MRGO to Lake Ponchartrain, separating
the city from New Orleans East. It is spanned by several bridges, from north to south:
the Senator Ted Hickey (State Highway 47), a bascule bridge; Chief Menteur Highway
(State Highway 90), a lift bridge; and Interstate 10, a fixed bridge, as well as two railway

9
 NOAA Navigation Chart 11368.
10
  U.S. Army Corp of Engineers New Orleans District website:
http://www.mvn.usace.army.mil/pd/projectsList/home.asp?projectID=107&directoryFilePath=ProjectData\.




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bridges, L&N Railroad bascule bridge to the south and Southern Railroad bascule
bridge to the north.




Figure 7: Portion of NOAA chart 11368, showing the southern portion of the IHNC.




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Figure 8: The southern portion of the IHNC and adjacent Lower Ninth Ward (2002).



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LAFARGE TERMINAL

The Lafarge North America cement terminal is located on the west bank of the IHNC.
The entrance into the terminal is on Poland Ave. at N. Dorgenois St. It is at 29° 58’
40”N, 90° 01’ 33”W.11 The facility is owned by the City of New Orleans under the
control of the Board of Commissioners of the Port of New Orleans, and is operated by
Lafarge North America Inc. (LNA). The wharf has a 600 foot face with a wharf height of
approximately 10 feet. The dock is equipped with a traveling suction gantry, with
pipelines extending to cement storage silos with 60,000 ton capacity. The water depth
alongside the wharf is reported to be 11 feet.




Figure 9: The Lafarge Terminal looking north. The barges in the photo are not the same
barges present during Hurricane Katrina.

The wharf includes a fendering system and outboard pilings spaced at intervals of nine
to ten feet along the dock. There are also ten mooring bollards spaced at various
intervals along the dock. Loaded barges awaiting unloading and empty barges awaiting
removal are moored to the wharf’s fixed bollards.
11
     U.S. Coast Pilot 5 – 33rd edition.




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                                                                                                                    Recommend cutting
                                                                                              the highlighted text as it does not connect
                                                                                              to any of the conclusions regarding transit
                                                                                              of the barge or cause of levee failure




Figure 10: A section of the Lafarge Wharf, showing a typical bollard, pilings, stringer and
stop for the traveling suction unloader.

The bollards are of the type and shape generally found on the majority of the wharves in
New Orleans.

From the south end of the dock to where the aforementioned vertical pilings begin, at
139 feet from the south end, the dock is fitted with a system of 12” x 12” timber fenders,
extending downward in horizontal tiers from the edge of the dock to an undetermined
distance below the water, each timber being approximately 10 feet in length.

In addition to the traveling suction cement unloader, the wharf is equipped with a pair of
wire rope winches and sheaves for moving barges along the wharf face. The unloader
travels on steel wheels set on steel rails on the wharf. There are two small buildings on
the wharf; a storage shed and a control house. A water mark left by floodwaters of
Hurricane Katrina was found on the inside wall of the storage shed, and was found to be
at a height above the dock apron of 6’ 03”. Inshore of the wharf is an I-Wall floodwall
which forms part of the New Orleans flood protection system.



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Figure 11: The flood gate directly inland of the Lafarge Wharf. The control house is to
the left and the Florida Ave. Wharf is to the right.




Figure 12: The Lafarge Terminal, looking south showing the pilings, stringer, winch used
to move barges along the wharf and the suction unloader.



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Figure 13: The Namasco Corp. facility looking southeast from the Lafarge Terminal, with
the covered gantry in the left background.

Immediately to the north and northwest of the Lafarge wharf is the Florida Ave.
Warehouse, owned and operated by the Dock Board. This 57,600 square foot
warehouse is approximately 482 feet long by 120 feet deep and overlaps the Lafarge
wharf. As such, it forms a lee (shelter) for winds from the north and northwest.

Directly south of the Lafarge cement terminal wharf is a wharf owned by the Port and
operated by Namasco Corp. This facility has a large warehouse for handling steel
products. It has overhead electric hoists that extend over the water used to unload steel
products from barges. The east-west wharf, measuring approximately 180 feet in
length, was used for mooring Namasco barges. It is in disrepair, with numerous broken
and exposed steel and wooden pilings and sharp cornered fendering structural
components.




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Figure 14: Deteriorated pilings and mooring components at the Namasco facility.

Further south from the Namasco Wharf on the west bank and directly across from the
levee protecting the Lower Ninth Ward is the 2,250 foot long (approximately) Galvez
Street Wharf.

Of particular importance in the southern portion of the IHNC is the turning basin just
south of the Florida Ave. Bridge. It forms a “pocket” or indentation on the west side of
the IHNC at the Lafarge North America Terminal. This rectangular pocket is
approximately 1,200 feet long (north-south) on its western side formed by Lafarge and
Florida Ave. wharves, and is 850 feet deep (east-west) on the south by the Namasco
Wharf. The barges alongside the Lafarge Wharf are “nested” in this pocket and thus do
not interfere with traffic in the navigation channel even if several barges are moored
alongside of the wharf. The orientation and arrangement of this pocket are important to
the track of barge ING 4727 on the morning of 29 August 2005.




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Figure 15: The southern portion of the IHNC showing the Lafarge terminal and
surrounding wharves. The yellow portions of the Figure are land above sea level on the
canal side of the levee.




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THE BARGE

The barge, numbered ING 4727, which grounded in the Lower Ninth Ward on 29 August
2005, was a standard steel Mississippi River covered hopper barge. Its principal
characteristics are as follows12:

                 Builder                              Equitable Shipyard
                 Owner                                 Ingram Barge Co.
                 Year Built                                           1990
                 Length                                          200’ – 0”
                 Beam                                             35’ – 0”
                 Depth                                            12’ – 0”
                 Coaming height                                     5’ – 0”
                 Draft, loaded                                    10’ – 0”
                 Draft, light                                    1’ – 4 ½”
                 Cover type                                    Fiberglass
                 Cover weight                                     11 tons
                 Cargo capacity                         84,659 cubic feet
                 Tons per Inch Immersion                             18.14
                 Displacement at 1’-4 ½” draft          250 tons, approx.
                 Displacement at 10’ draft                    1,877 tons

Constructed of steel in 1990, the barge was owned by the Ingram Barge Company. It
is a typical Mississippi River “box barge” without rake at either end. It has a double skin
with a forepeak and after peak tank and five pairs of side tanks. The barge is
symmetrical, fore-and-aft. For descriptive purposes we have designated the end of the
barge with the ID numbers on the transom to be the stern. In the grounded position this
would be at the northern end. The bow would be at the opposite or southern end, the
starboard side to the west, and port side to the east.

Between the hopper tank and outer hull, the barge was subdivided into void tanks
spaced 40 inches apart at the sides and 15 ½ inches at the bottom. The fore and after
peak tanks were spaced 21 inches between the hopper tank ends and the transoms.

The outer shell including sides and bottom plating was 3/8 inch thick. The hopper tank
had 3/8 inch sides and ½ inch bottom (tank top). The barge was longitudinally framed
with longitudinals spaced approximately 24 inches on center. The framing was flanged
angles, 5” by 2 ½” by ¼” on the side shell and 14 ½” x 3” x ¼” on the bottom. The
barge was fitted with a 6” by 5/8” rubbing strake on the exterior of the side shell
approximately 12 inches above the baseline and just above the turn of the bilge. The
bottom shell transverse butt seams were approximately 66 inches on centers.


12
     Ingram Barge Register, 28 July 2005.




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The cargo hopper was covered with domed fiberglass, removable covers.




Figure 16: Looking along the side coaming of barge ING 4727.

The barge was outfitted with cleats and buttons that are standard and commonly found
on barges of this type, for use in mooring or in making the barge fast to other barges or
to tugs, namely:




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      At each of the four corners of the barge, one 15” “button” and one 48”
      cleat.

      On each side, port and starboard, at intervals of approximately 47 feet
      from each other along the length of the barge, three 36” cleats.

      On centerline on each end of the barge, one 36” cleat.

                    Button Details
                    Diameter                                    15”
                    Height above deck                           8”
                    Distance from bow or stern                  24”
                    Distance from port or                       17”
                    starboard side

                    36” Cleat Details
                    Length, end to end                         36”
                    Width                                       5”
                    Height above deck at                       6 ½”
                    midpoint
                    Height above deck at ends                   8”
                    Length of base plate                        24”
                    Width of base plate                         12”

                    48” Cleat Details
                    Length, end to end                         48”
                    Width                                       7”
                    Height above deck at                       9 ½”
                    midpoint
                    Height above deck at ends                  10 ½”
                    Length of base plate                        36”
                    Width of base plate                         21”

The centerline cleats at the forward and after ends of the barge were at a distance of
22” from their respective ends of the barge.




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Figure 17: The mooring fittings of barge ING 4727: Button (top) and cleat (bottom).

Barge ING 4727, like nearly all inland hopper barges, was not classed or otherwise
inspected by a classification society or by the U.S. Coast Guard.

Before Katrina, ING 4727 was empty and tied up to the wharf at the Lafarge terminal,
with a loaded barge to its outboard side. On 27 August 2005 a towboat crew from
Joseph P. Domino Towing shifted barges at the Lafarge Terminal, leaving the loaded
barge adjacent to the wharf and the empty ING 4727 outboard of the loaded barge to
which it was tied. Directly to the north of these two barges, five loaded barges were
also tied up, one outboard of the other.



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Figure 18: Barge ING 4727 where it came to rest in the Lower Ninth Ward.

At some time on 29 August 2005, barge ING 4727 broke free of the loaded barge to
which it was tied and ended up in the Lower Ninth Ward near Jourdan Ave. and N.
Roman St. on the other side of the failed floodwall. Shortly after it became possible to
gain access to the Lower Ninth Ward, the barge was surveyed and photographed
extensively. The results of this examination are discussed later in this report.

In March of 2006, the barge was lifted using air bags so that its bottom could be
examined. Following this examination, the barge was cut into sections. The upper 8
foot portion was scrapped. The lower 4 feet was cut into 19 sections and transported to
a warehouse where they were inverted and examined more thoroughly. At that time,
the condition of the bottom was documented.




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Figure 19: Barge ING 4727 lifted on airbags for inspection.




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